 

Case 1:19-cv-07153-DLI-RLM Document 1 Filed 12/20/19 Page 1 of 9 PagelD #: 1

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

BRICKLAYERS INSURANCE AND WELFARE
FUND, BRICKLAYERS PENSION FUND,
BRICKLAYERS SUPPLEMENTAL ANNUITY
FUND, BRICKLA YERS AND TROWEL

TRADES INTERNATIONAL PENSION FUND, COMPLAINT
NEW YORK CITY AND LONG ISLAND JOINT
APPRENTICESHIP AND TRAINING FUND,
INTERNATIONAL MASONRY INSTITUTE, and
JEREMIAH SULLIVAN, JR., in his fiduciary
capacity as Administrator and Chairman of
Trustees, BRICKLAYERS LOCAL 1,
INTERNATIONAL UNION OF BRICKLAYERS
AND ALLIED CRAFT WORKERS, and
BRICKLAYERS LABOR MANAGEMENT
COMMITTEE,

Plaintiffs,
- against -

M&B CONSTRUCTION, INC. and
RICHARD MASCOLO,

Defendants.

Plaintiffs, by their attorneys, Doar Rieck Kaley & Mack, complaining of the
Defendants, M&B Construction, Inc. (““M&B”) and Richard Mascolo (“Mr. Mascolo”), allege as
follows:

JURISDICTION AND VENUE

1, This is an action against M&B and Mr. Mascolo to enforce the provisions
of Sections 515, 404 and 409 of the Employee Retirement Income Security Act of 1974
(“ERISA”), as amended, 29 U.S.C. §§ 1145, 1104 and 1109, for M&B’s failure to make
employee benefit fund contributions and for Mr. Mascolo’s breaches of fiduciary duty,
respectively. Subject matter jurisdiction is conferred pursuant to ERISA Sections 502(a)(2) and

(3), and (g), 29 U.S.C. §§ 1132(a)(2) and (3), and (g).
 

Case 1:19-cv-07153-DLI-RLM Document 1 Filed 12/20/19 Page 2 of 9 PagelD #: 2

2. As to Bricklayers Local 1, International Union of Bricklayers & Allied
Craft Workers (“Local 1”), subject matter jurisdiction is conferred under Section 301 of the
Labor Management Relations Act (““LMRA”), 29 U.S.C. § 185.

3. As to the state court action against Mr. Mascolo for conversion,
supplemental jurisdiction is conferred under 28 U.S.C. § 1367.

4. Supplemental jurisdiction is proper in this instance because Mr. Mascolo
simultaneously embezzled benefit fund assets in violation of ERISA and employee dues monies
in violation of state law from the same employees on whose behalf M&B failed to make
contributions and remit dues. Accordingly, the state law actions arise from a common nucleus of
operative fact as the Plaintiffs’ federal claims, and are properly before the Eastern District.

5. The funds are administered in the Eastern District of New York. Venue is
proper under Section 502(e)(2) of ERISA, 29 U.S.C. § 1132(e)(2).

PARTIES

6. Plaintiffs, Bricklayers Insurance and Welfare Fund (“Welfare Fund”) (of
which the Vacation Fund is a part), Bricklayers Pension Fund (“Pension Fund”), Bricklayers
Supplemental Annuity Fund (“Annuity Fund”), Bricklayers and Trowel Trades International
Pension Fund (“IPF”), New York City and Long Island Joint Apprenticeship and Training Fund
(“JATC”), and the International Masonry Institute (“IMI”), are each an “employee benefit plan”
within the meaning of Section 3(3) of ERISA, 29 U.S.C. § 1002(3), a “multiemployer plan”
within the meaning of Section 3(37) of ERISA, 29 U.S.C. § 1002(37), and a fiduciary within the
meaning of Section 3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A).

7. Jeremiah Sullivan (“Mr. Sullivan’) is the Chairman of Trustees, unpaid
Administrator and a fiduciary within the meaning of Section 3(21)(A) of ERISA, 29 U.S.C. §
1002(21)(A), of the Pension, Annuity and Welfare Funds and the JATC (“Local 1 Funds”). He is
also a trustee of the IMI. The trustees of the Local 1 Funds have authorized Mr. Sullivan to bring
this action on their behalf, as have the trustees of the IMI and IPF. As president of Local 1, Mr.

Sullivan is also authorized to sue to collect wage assignments that have not been remitted by
Case 1:19-cv-07153-DLI-RLM Document 1 Filed 12/20/19 Page 3 of 9 PagelD #: 3

employers to Local 1 and its parent, the International Union of Bricklayers & Allied Craft
Workers (“I.U.”). Mr. Sullivan is also a participant in and beneficiary of the Pension, Annuity
and Welfare Funds, JATC, IPF, and IMI (collectively referred to as the “Funds”).

8. Local 1 is a labor organization within the meaning of Section 301 of the
LMRA, 29 U.S.C. § 185.

9. The Labor Management Committee (“LMC”) is established and
maintained under Section 302(c)(9) of the LMRA, 29 U.S.C. § 186(c)(9).

10. M&B is, and at all times hereinafter mentioned was, an employer
maintaining offices and conducting business in the State of New York.

11. Upon information and belief, Defendant Mr. Mascolo is the owner of
M&B.

BACKGROUND

12. |M&B is party to a collective bargaining agreement with Local | covering
bricklayers (“CBA”). Under the CBA, M&B agreed to make contributions at specified rates per
hour worked to pay for the cost of: (1) pension benefits provided by the Pension Fund, Annuity
Fund and IPF; (2) medical benefits provided by the Welfare Fund; and (3) training provided by
the JATC and IMI.

13. Under the CBA, M&B is further obligated to transmit after-tax deductions
from employee wages to the Vacation Fund, which is a component of the Welfare Fund and
covered by ERISA, at a specified rate per hour.

14. The CBA also requires M&B to transmit after-tax hourly deductions from
employee wages to the Funds for dues owed to Local | and the I.U.

15. M&B failed to make benefit contributions due and owing to the Funds, and
wage deductions and contributions due and owing to Local 1 and the LMC, respectively, for hours
worked by Local 1 bricklayers during the period of January 1, 2010 through December 31, 2013, as

determined by multiple audits of M&B’s books and records.
 

Case 1:19-cv-07153-DLI-RLM Document1 Filed 12/20/19 Page 4 of 9 PagelD #: 4

UNPAID CONTRIBUTIONS UNDER
ERISA SECTIONS 1145 & 1132 and LMRA SECTION 301 —-M&B

16. Plaintiffs Mr. Sullivan, Local 1 and the Funds re-allege paragraphs 1 through
15 as if fully set forth herein.

17. M&B owes the Funds $22,557.04 in unpaid contributions for hours
worked by Local 1 bricklayers between January 1, 2010 and December 31, 2013, and Plaintiffs
further seek any and all unpaid contributions that should accrue during the pendency of this
litigation, including any amounts found due and owing in connection with an updated audit of
Defendants’ books and records.

18. Under the CBA and the applicable plan documents for the Funds,
liquidated damages of 20% are owed on the unpaid contributions described above in paragraph

17 plus interest at the rate of 10% per annum.

UNREMITTED DUES CHECKOFFS AND UNPAID CONTRIBUTIONS UNDER
LMRA SECTION 301 — M&B

19. Plaintiffs Local 1 and the LMC re-allege paragraphs 1 through 18 as if
fully set forth herein.

20. M&B owes Local 1 and the LMC $2,957.74 in unremitted dues checkoffs
and unpaid contributions for hours worked by Local 1 bricklayers between January 1, 2010 and
December 31, 2013, and Plaintiffs further seek any and all unremitted dues checkoffs and unpaid
contributions that should accrue during the pendency of this litigation, including any amounts
found due and owing in connection with an updated audit of Defendants’ books and records.

21. Interest of 10% per annum is due from M&B under the CBA on the
amount described above in paragraph 20.

FIDUCIARY BREACHES UNDER ERISA SECTION 409 — MR. MASCOLO

A, The Welfare Fund’s Vacation Fund Component

22. ‘Plaintiffs Mr. Sullivan and the Welfare Fund re-allege paragraphs 1
through 21 as if fully set forth herein.
 

Case 1:19-cv-07153-DLI-RLM Document 1 Filed 12/20/19 Page 5 of 9 PagelD #: 5

23. The Welfare Fund includes a Vacation Fund component that provides
vacation benefits to bricklayer participants. The participants pay for the Vacation Fund benefits
by having after-tax monies deducted directly from their wages by their employer. The employers
are obligated to remit the Vacation Fund deductions to the Welfare Fund on a weekly basis.

24. Mr. Mascolo directed that $3,431.25 in Vacation Fund deductions be
taken from the wages of Local 1 members for hours worked by Local 1 bricklayers between
January 1, 2010 and December 31, 2013.

25. | Employee contributions to the Vacation Fund component of the Welfare
Fund are “plan assets” of an ERISA employee welfare fund under 29 C. F. R. § 2510,3-102(a).
However, Mr. Mascolo failed to segregate the Vacation Fund deductions and remit them to the
Welfare Fund and instead, upon information and belief, Mr. Mascolo commingled them with
M&B’s general assets and used these Vacation Fund assets to pay corporate expenses and
creditors. By exercising control over the disposition of the wage deductions that constituted
employee contributions to the Vacation Fund, Mr. Mascolo acted as a fiduciary of the Welfare
Fund assets within the meaning of Section 3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A).

26. By misappropriating the Vacation Fund deductions for use by M&B, Mr.
Mascolo committed a series of breaches of fiduciary duty under Section 404 of ERISA, 29
U.S.C. § 1104, and thereby rendered himself personally liable under Section 409 of ERISA, 29
U.S.C. § 1109, for the $3,431.25 in Vacation Fund deductions taken from the wages of Local 1
members during the relevant time period herein and for any losses resulting from these breaches.

B. The International Pension Fund

27. Plaintiffs Mr. Sullivan and the IPF re-allege paragraphs 1 through 26 as if
fully set forth herein.

28. Section 4.1 (a) of the Agreement and Declaration of Trust of the IPF
provides that “Title to all monies paid into and/or due and owing the Trust Fund shall be vested

in and remain exclusively in the Trustees of the Fund.”
 

Case 1:19-cv-07153-DLI-RLM Document 1 Filed 12/20/19 Page 6 of 9 PagelD #: 6

29. | Mr. Mascolo manages the day-to-day activities and payrolls of M&B and
determines if and when to make contributions to the IPF on behalf of M&B bricklayers and is
therefore a fiduciary of the IPF within the meaning of Section 3(21)(A) of ERISA, 29 U.S.C.
§ 1002(21)(A).

30. Mr. Mascolo failed to make $1,557.79 in contributions to the IPF for
hours worked by Local 1 bricklayers between January 1, 2010 and December 31, 2013.

31. By paying creditors and other corporate expenses of M&B prior to making
due and owing contributions to the IPF, Mr. Mascolo exercised control over the disposition of
the IPF assets and so committed a series of breaches of fiduciary duty under Section 404 of
ERISA, 29 U.S.C. § 1104, and thereby rendered himself personally liable under Section 409 of
ERISA, 29 U.S.C. § 1109, for $1,557.79 in IPF contributions and for any losses resulting from
these breaches.

STATE LAW CONVERSION — MR. MASCOLO

32. Plaintiff Local 1 re-alleges paragraphs 1 through 31 as if fully set forth
herein.

33. Mr. Mascolo directed that $2,820.49 in dues deductions be taken from the
paychecks of Local 1 members for hours worked by Local | bricklayers between January 1, 2010
and December 31, 2013. The dues deductions taken from the paychecks of Local 1 members
were the property of said bricklayers and should have been segregated from the assets of
defendants. Mr. Mascolo, however, failed to segregate the dues deductions and remit them to
Local 1. Instead, upon information and belief, Mr. Mascolo commingled them with M&B’s
general assets and used these Local 1 assets to pay corporate expenses and creditors.

34. As a result, Mr. Mascolo unlawfully converted these monies and is
therefore personally liable to make Local 1 whole for the $2,820.49 in unremitted dues

checkoffs.
Case 1:19-cv-07153-DLI-RLM Document 1 Filed 12/20/19 Page 7 of 9 PagelD #: 7

INJUNCTIVE RELIEF UNDER ERISA SECTION 1132 —-M&B

35. Plaintiffs Mr. Sullivan, Local 1, the LMC and the Funds re-allege
paragraphs 1 through 34 as if fully set forth herein.

36. Pursuant to the terms and conditions of the CBA and the plan documents
of the Funds, M&B is required, inter alia, to file certain employer contribution reports with
Plaintiff Funds. It is further required to permit and cooperate with Plaintiff Funds in the conduct
of audits of Defendants’ books and records including, but not limited to, payroll, payroll ledgers,
computer payroll printouts, W-2 forms, quarterly federal payroll tax returns (forms WRS-2 and
WRS-30), annual federal tax returns, cash disbursements journals, purchase journals, 1099
forms, New York and New Jersey employment records, insurance company reports, supporting
checks, ledgers, vouchers and any and all other items concerning payroll. This production
includes any certified payrolls of M&B and of any subcontractors it retained, and copies of all
contracts between M&B and any subcontractors it retained to perform work on Local 1 projects.
These requirements are for the purpose of ascertaining the amount of fringe benefits
contributions owed to the Funds, contributions owed to the LMC, and dues owed to Local 1 from
M&B, and of verifying the accuracy of the employer contribution reports, if filed. Upon
information and belief, M&B failed to cooperate in the conduct of audits of its books and
records.

37. In an action to enforce Section 515 of ERISA, 29 U.S.C. § 1145, a court
may award, in addition to certain categories of monetary damages, such other legal or equitable
relief as the court deems appropriate. That relief may include an injunction directing that M&B
cooperate in the conduct of an audit of its books and records. Under the CBA, Plaintiffs are entitled
to an audit in connection with M&B’s obligation to make contributions and remit dues, and would
suffer irreparable harm if M&B were permitted to evade its obligation to submit to an audit because
there is no other mechanism which can accurately determine the full amount owed by the CBA
signatories. This injury would lack an adequate remedy at law, since the full extent of the damages

sought would remain unknown, causing further irreparable harm.
 

Case 1:19-cv-07153-DLI-RLM Document 1 Filed 12/20/19 Page 8 of 9 PagelD #: 8

38. Accordingly, pursuant to the terms and conditions of the CBA, Plaintiffs
demand an order requiring M&B to permit and to cooperate with Plaintiffs in the conduct of an
audit of its books and records for the payroll periods of the weeks beginning with the end period
of its most recent audit and continuing through the present time and to pay any delinquencies
shown to be due as a result of such audit.

DEMAND FOR RELIEF

WHEREFORE, Plaintiffs Mr. Sullivan, Local 1 and the Funds demand Judgment
against M&B under ERISA and the LMRA as follows:

1. a. For unpaid contributions owed to the plaintiff Funds, in the amount
of $22,557.04, as well as unpaid contributions that should accrue during the pendency of this
litigation, including any amounts found due and owing in connection with an updated audit of
Defendants’ books and records (ERISA Section 502(g)(2)(A));

b. For interest assessed on unpaid contributions at the per annum rate
of 10% to be determined at a later date (ERISA Section 502(g)(2)(B));

C. For 20% liquidated damages assessed on unpaid contributions
owed to plaintiff Funds (ERISA Section 502(g)(2)(C)(ii));

d. For the costs of filing this action in the amount of $400 (ERISA
Section 502(g)(2)(D));

é: For attorneys’ fees and costs of this action (ERISA Section
502(g)(2)(D)).

2. Such other legal or equitable relief as this Court deems appropriate,
including an order that M&B be directed to cooperate in the conduct of an audit of M&B’s books
and records pursuant to paragraphs 36 through 38 above (ERISA Section 502(g)(2)(E)).

WHEREFORE, Plaintiffs Mr. Sullivan, the Welfare Fund and IPF demand
Judgment against Mr. Mascolo for breaches of fiduciary duty under Section 409 of ERISA, 29
U.S.C. § 1109 in the amount of $4,989.04, and for any losses resulting from each such breach, as

well as such other equitable or remedial relief as the Court may deem appropriate, including an
 

Case 1:19-cv-07153-DLI-RLM Document 1 Filed 12/20/19 Page 9 of 9 PagelD #: 9

order to restore to the Funds any profits of such fiduciary which have been made through use of
assets of the plan by the fiduciary.

WHEREFORE, Plaintiffs Local 1 and the LMC demand Judgment against M&B
under the LMRA as follows:

1. For unremitted dues owed Local 1 and unpaid contributions owed the
LMC in the amount of $2,957.74, as well as unremitted dues checkoffs and unpaid contributions
that should accrue during the pendency of this litigation, including any amounts found due and
owing in connection with an updated audit of Defendants’ books and records.

2. For interest assessed on delinquent dues checkoffs and contributions owed
Local 1 and the LMC at the per annum rate of 10% to be determined at a later date.

WHEREFORE, Plaintiff Local 1 demands judgment against Mr. Mascolo under

state law for conversion of dues deductions in the amount of $2,820.49.

Dated: New York, New York
December 20, 2019
DOAR RIECK KALEY & MACK

Bedok Llevnphib —

Michael R. Minnefoy/Esq.
217 Broadway, Suité 707
New York, New York 10007
(212) 619-3730

Attorneys for Plaintiffs
